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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                        )
                                                 )
                      Plaintiff,                 )
                                                 )
              vs.                                )                8:04CR535
                                                 )
GREG M. DARLING,                                 )                  ORDER
                                                 )
                      Defendant.                 )




       Before the court is defendant’s Motion to Review Order of Detention [52]. Pretrial
Services is ordered to investigate the proposed release plan and provide a report to the court
and counsel by May 27, 2005.

       IT IS SO ORDERED.

       DATED this 10th day of May, 2005.

                                              BY THE COURT:


                                              s/ F.A. Gossett
                                              United States Magistrate Judge
